 Case 3:18-cv-00428-DMS-AHG Document 172-2 Filed 08/02/18 PageID.3066 Page 1 of 3




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12                         UNITED STATES DISTRICT COURT
13
                         SOUTHERN DISTRICT OF CALIFORNIA

14 Ms. L., et al.,
15               Petitioners-Plaintiffs,           Case No. 18-cv-00428-DMS-MDD
          v.
16                                                 DECLARATION OF NAN
   U.S. Immigration and Customs Enforcement        SCHIVONE
17 (“ICE”), et al.,
18               Respondents-Defendants.           CLASS ACTION

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 Case 3:18-cv-00428-DMS-AHG Document 172-2 Filed 08/02/18 PageID.3067 Page 2 of 3




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     1.    I, Nan Schivone, make the following declaration based on my personal
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     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
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     the following is true and correct:
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     2.    I am an attorney licensed to practice law in the states of New York and Georgia
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     and am the Legal Director of Justice in Motion, a non-profit organization founded in
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     2005, which manages a Defender Network of human rights advocates and attorneys in
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     Mexico and Central America. See http://justiceinmotion.org/.
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     3.    In my role as the Legal Director of Justice in Motion I coordinate our “case
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     facilitation” process, in which we match U.S. lawyers with members of our Defender
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     Network to partner on specific cases which require legal support work in the client’s
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     country of origin; through this work I have gained knowledge about information that
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     is necessary to locate named individuals in Guatemala and Honduras.
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     4.    I was asked to identify what information we need to locate these parents.

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     5.    We require the following information about parents: Parent’s place of birth,

16   contact information, including address – whether descriptive or standard – with

17   municipality and department (regional marker like state), phone number for parent or

18   any family members, indigenous language spoken if other than Spanish, and country-
19   specific identification number, such as DPI (Guatemala, "Documento Personal de
20   Identificación") or the Identity Number (Honduras, "la Cédula de Identidad").
21   6.    We require the following information about their children: (1) Child's place of
22   birth, contact information, including address – whether descriptive or standard –with
23   village, town, municipality and department (regional marker like state), phone number
24   for parent or any family members, indigenous language spoken if other than Spanish;
25   and (2) name and contact information for child's assigned lawyer and case worker to
26   determine if they are in touch with the parents or have contact information for the
27   family and/or other details which would provide leads to locate deported parent.
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 Case 3:18-cv-00428-DMS-AHG Document 172-2 Filed 08/02/18 PageID.3068 Page 3 of 3




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     7.    I have reviewed some of the addresses provided by the government for deported
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     parents, focusing on parents deported to Guatemala and Honduras. Many of the
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     addresses appear too general to provide a good lead for investigators. For example,
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     addresses that simply list “Guatemala City” in Guatemala, or “Olancho” in Honduras,
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     are of limited use in this search.
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           Executed this 2nd day of August 2018, in Decatur, Georgia.
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                                                     ____________________________
                                                      /s/Nan Schivone
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                                                     NAN SCHIVONE
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